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                    Exhibit C
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Plaintiff X Corp.


Name(s) of counsel (if any):
McDermott Will & Emery LLP--J. Jonathan Hawk



Address: 2049 Century Park East, Suite 3200, Los Angeles, CA 90067
Telephone number(s): 1 310 277 4110
Email(s): jhawk@mwe.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Defendants Center for Countering Digital Hate, Inc. and Center for Countering
Digital Hate Ltd.

Name(s) of counsel (if any):
Kaplan Hecker & Fink LLP--Roberta A. Kaplan, John C. Quinn, Matthew J.
Craig, Amit Jain


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Telephone number(s): 1 212 763 0883
Email(s): rkaplan@kaplanhecker.com, jquinn@kaplanhecker.com (cont.)


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:
Plaintiff X Corp.

Name(s) of counsel (if any):
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Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
Defendants Center for Countering Digital Hate, Inc. and Center for Countering
Digital Hate Ltd.
Name(s) of counsel (if any):
Cohen Williams LLP--Marc S. Williams, Neil S. Jahss


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Name(s) of party/parties:
Defendant Stichting European Climate Foundation

Name(s) of counsel (if any):
Manatt, Phelps & Phillips, LLP--Nathaniel T. Bach, Thomas Worger, Kyla Nuñez


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                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
         Case 3:23-cv-03836-CRB Document 82-3 Filed 04/23/24 Page 4 of 4




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



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Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
